       Case 1:25-cv-00458-MJM         Document 8        Filed 02/12/25      Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 MAYOR AND CITY COUNCIL OF
 BALTIMORE, et al.,

 Plaintiffs,
                                                   Case No. 25-cv-458-ABA
 vs.

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,

 Defendants.



       PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

         Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs Mayor and City Council

of Baltimore and Economic Action Maryland Fund hereby move for a temporary

restraining order enjoining the Consumer Financial Protection Bureau and its Acting

Director Russell Vought from taking any steps to defund the Consumer Financial

Protection Bureau, including by transferring the Bureau’s reserve funds or otherwise using

them for a purpose other than the operation of the Bureau, until this Court can further

consider the merits. As set forth in more detail in the accompanying brief, CFPB’s final

agency action to defund the Bureau violates the Administrative Procedure Act because it

is arbitrary and capricious and without basis in statutory authority. Plaintiffs will suffer

imminent injury absent injunctive relief. Plaintiffs respectfully request an emergency

hearing on this motion at the Court’s earliest convenience.

         Within five minutes of filing the complaint in this matter, counsel for Plaintiffs e-

mailed the three Assistant Directors for the Federal Programs Branch of the Department of

Justice to provide actual notice that they had filed a complaint in this matter (attaching a
    Case 1:25-cv-00458-MJM           Document 8       Filed 02/12/25       Page 2 of 2



copy of the complaint) and would be filing this instant temporary restraining order later

this same day. Immediately prior to making this application to the Court, counsel for

Plaintiffs provided the three Assistant Directors for the Federal Programs Branch with

electronic copies of this motion for temporary restraining order and accompanying brief,

declarations, and proposed order via e-mail before completing this electronic filing.

 Dated: February 12, 2025                        Respectfully submitted,

                                                 /s/ Mark B. Samburg
                                                 Mark B. Samburg
                                                 Kevin E. Friedl*
                                                 Daniel McGrath*
                                                 Jessica Anne Morton*
                                                 J. Sterling Moore*
                                                 Robin F. Thurston*
                                                 Skye L. Perryman*
                                                 Democracy Forward Foundation
                                                 P.O. Box 34553
                                                 Washington, DC 20043
                                                 (202) 448-9090
                                                 msamburg@democracyforward.org
                                                 kfriedl@democracyforward.org
                                                 dmcgrath@democracyforward.org
                                                 jmorton@democracyforward.org
                                                 smoore@democracyforward.org
                                                 rthurston@democracyforward.org
                                                 sperryman@democracyforward.org

                                                 Counsel for Plaintiffs

                                                 *Pro hac vice application pending




                                             2
